         Case: 23-55478, 08/14/2023, ID: 12773507, DktEntry: 16, Page 1 of 2

                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                           FOR THE NINTH CIRCUIT
                                                                       AUG 14 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 ALEXANDRIA MOSLEY; et al.,                    No. 23-55478

               Plaintiffs - Appellants,
                                               D.C. No. 3:22-cv-01976-DMS-AHG
   v.                                          U.S. District Court for Southern
                                               California, San Diego
 WELLS FARGO & COMPANY and
 WELLS FARGO BANK, N.A.,                       ORDER

               Defendants - Appellees.


        The answering brief submitted on August 11, 2023 is filed.

        Within 7 days of this order, appellees are ordered to file 6 copies of the brief

in paper format with red covers, accompanied by certification (attached to the end

of each copy of the brief) that the brief is identical to the version submitted

electronically. The Form 18 certificate is available on the Court's website at

http://www.ca9.uscourts.gov/forms/.

        The supplemental excerpts of record submitted on August 11, 2023 are

filed. Within 7 days of this order, appellees are ordered to file 3 copies of the

excerpts in paper format securely bound on the left side, with white covers.

        The paper copies shall be submitted to the principal office of the Clerk. The

address for regular U.S. mail is P.O. Box 193939, San Francisco, CA 94119-3939.
        Case: 23-55478, 08/14/2023, ID: 12773507, DktEntry: 16, Page 2 of 2

The address for overnight mail is 95 Seventh Street, San Francisco, CA 94103-

1526.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT
